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 '!l.HlD 187 /Rev 0211D Fxhjbjt and Witness List


                                                   UNITED STATES DISTRICT COURT
                                                                                          DISTRICT OF HAWAII
                                                                                                                          SECOND AMENDED
                       United States of America
                                                                                                                               EXHIBIT LIST
                                          V.
                           Anthony T. Williams                                                                            Case Number: 17-00101 LEK

 PRESIDING JUDGE                                                      PLAINTIFF'S ATTORNEY                                      DEFENDANT'S ATTORNEY
 Leslie E. Kobayashi                                           0 Kenneth Sorenson.Gregg Yates                                   Pro Se, LR Isaacson Standby
 TRIAL DA TE (SJ                                                     COURT REPORTER                                             COURTROOM DEPUTY
 2/3/2020
  PI.F.     DEF.          DATE
                                         MARKED ADMIHEC                                                      DESCRIPTION OF EXHIBITS• AND WITNESSES
  NO.       NO.         OFFERED

            2001                                                     Mail Wire -Hep Guinn - From Government Disc I

            2002                                                     Report of Investigation (ROI)- 6-3-15 from Government Disc I

            2003                                                     Anabel Cabebe 00 Report of Investigation from Government Disc i

            2004                                                     Henry Malinay 01 Report of Investigation from Government Disc 1

            2005                                                     Henry Malinay - Maui Clients - emails 9/27/13 and 9/28/13 from Govt Disc 1

            2006                                                     Barbara Williams ROI 7-12-16 from Govt Disc 1

           2007                                                      Barbara Williams MEI-CLOA Documents 02_mail_wire -00 Anthony Williams from Govt Disc 1

           2008                                                      Barbara Williams Certified Mail email, Kalena here w/ questions, CLOA letterhead email from Disc 1

           2009                                                      ROI- Julita Asuncion - from Govt Discovery Disc 1

           2010                                                       ROI - Virginia Trinidad - from Govt Discovery Disc 1

           2011                                                      ROI - Willie Ramelb-

           2012                                                      ROI - Mariethez Madamba

           2013                                                      ROI - Melvyn Ventura

           2014                                                      ROI - Evelyn & Arnold Subia

           2015                                                      Loreen Troxel - ROI - 12-3-2015

           2016                                                      ROI -Asuncion· ROI· 12-1-2015

           2017                                                      ROI Asuncion 2-16-16

           2018                                                      ROI - Hep Guinn·· 6-3-15

           2019                                                     ROI - Merlina Tabuyo

           2020                                                      Megan Crawley - SA FBI Application for Search Warrant from Discovery Disc 2

           2021                                                     1B004-Legal documents redacted.pd! p.4-6,47-53 from Discovery Disc 3, CD1 of 2

           2022                                                      16010-Anabel Cabebe Realtor redacted.pd! p.1, 19-22, 44-48, 63·68, 70-74, 86-89, 129-130
                                                   . .
• Include a no1a1,011 as to the lacat1011 of any exl11h11 not held with lhe case hie or not available because of size .

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Case 1:17-cr-00101-LEK Document 871 Filed 02/05/20 Page 7 of 7   PageID #: 7538
